
FERGUSON, Circuit Judge,
concurring:
I.
I concur in the per curiam opinion. I write separately to focus on the district court’s erroneous rejection of Lambright’s Post Traumatic Stress Disorder (PTSD) claim.
II.
War is hell. Not only for the soldier who fights on the front lines, but also for the military ambulance driver who must rescue the wounded, the mess hall cook whose friends are killed on the battlefield, the civilian who loses a loved one, and the augmentee who, like Lambright, runs patrol missions at an Air Force base in a war-plagued country. Any member of the military exposed to trauma may suffer from PTSD, regardless of whether he or she served on the front lines or exchanged gunfire with the “enemy.”1 See Kathleen A. Tarr, Above and Beyond: Veterans Disabled by Military Service, 5 Geo. J. Fighting Poverty 39, 43 (1997) (recognizing “the simple fact that almost anyone who serve[s] during wartimefis] exposed to stress capable of causing mental disability” and “that most service-members’ wartime experiences [are] horrific and potentially disabling, even if not uncommon”).
Lambright claimed to have been involved in combat at the Phu Cat Airbase in Vietnam while serving as an augmentee. He testified that Viet Cong soldiers ambushed him and a friend while they were performing police duties. Lambright claimed that his friend died in his arms after being shot in the stomach.
The district court found that Lam-bright’s “testimony with respect to the trauma underlying his expert’s PTSD diagnosis (the alleged combat experience) [was] less than credible.” While this finding is not clearly erroneous, given the extensive evidence casting doubt on the specifics of Lambright’s story, the district court did err in concluding that Lambright therefore did not suffer from PTSD. Although Lambright’s psychiatrist relied on the combat story in diagnosing Lambright with PTSD, he also testified that Lam-bright’s general Vietnam experience could have triggered the disorder and that “merely being in a base where there was mortar fire and considerable danger is also potentially enough to satisfy this diagnosis.”
There is no question that Lambright came home from Vietnam a changed man. His first wife testified that before his deployment to Vietnam, Lambright “was a kind person, gentle, free-hearted,” but that he returned troubled and disturbed. Lam-bright “wasn’t like the same person .... [H]e didn’t have a calm nature about him_ [H]e wasn’t a happy person.” He had difficulty sleeping and suffered from frequent combat nightmares, including one incident in which he grabbed *538his wife and told her to get down because the Viet Cong was hiding in the bushes. Lambright often wished himself dead, and on one occasion he drove his car into a tree in an attempt to kill himself.
Lambright’s sister also observed a significant change after Lambright returned from Vietnam. She stated, “[B]efore he went to Viet Nam[,] Joe was kind, gentle, and well-behaved. When he got back from his service in Viet Nam he was completely changed. He was extremely tense, paranoid, and nervous.” She once discovered him on her porch, “cowering against a wall [and] swinging a butcher knife,” and hallucinating about an “imaginary attack by someone or something.”
Given the horrors of even the most mundane aspects of the Vietnam war, see generally, Michael Herr, Dispatches (1977), coupled with Lambright’s marked postwar change in personality and his exhibition of PTSD symptoms, it is quite likely that Lambright was exposed to some trauma in Vietnam that triggered PTSD, even if his Phu Cat Air Base story was a figment of his imagination.
III.
The district court, having concluded that Lambright’s war story was fabricated, should have then determined whether Lambright’s Vietnam experience exposed him to any non-combat stressors sufficient to induce PTSD. Were we not reversing on other grounds, I believe the district court’s erroneous assumptions about PTSD would necessitate a remand for such a determination.

. Of course, PTSD also occurs outside of the context of war. It can be triggered by anything from domestic violence, see, e.g., M.C. Austin et al., Posttraumatic Stress Disorder Among Battered Women: Risk and Resiliency Factors, 8 Violence &amp; Victims 17 (1993), to animal abuse, see, e.g., Taimie L. Bryant, Trauma, Law, and Advocacy for Animals, 1 J. of Animal L. and Ethics 63 (2006).

